  Case 1:23-cv-01046-JDB-jay Document 1 Filed 03/27/23 Page 1 of 8             PageID 1




                        IN THE UNITED STATES DISTRICT COURT FOR
                           THE WESTERN DISTRICT OF TENNESSEE
                                    EASTERN DIVISION

EDWIN ANDERSON and                                )
GENA STALLINGS,                                   )
                                                  )
        Plaintiffs,                               )
                                                  )
vs.                                               ) No. 1:23-cv-1046
                                                  )
ACUITY, A MUTUAL INSURANCE                        )
COMPANY, and ANTHONY FIRRILIO, P.E.,              )
                                                  )
        Defendants.                               )

                                        NOTICE OF REMOVAL

        Defendant, Acuity, A Mutual Insurance Company (“Acuity”), by and through its

undersigned counsel, and pursuant to 28 U.S.C. §§ 1441, 1446(b)(3), and 1332, hereby

gives notice that it is removing a civil action from the Chancery Court of Weakley County,

Tennessee to the United States District Court for the Western District of Tennessee,

Eastern Division.

                                       PROCEDURAL MATTERS

        1.       On or about February 17, 2023, the Plaintiffs filed a civil action in the

Chancery Court for Weakley County, Tennessee against Acuity and Anthony Firriolo, P.E.

(“Mr. Firriolo”) styled Edwin Anderson and Gena Stallings v. Acuity et al., Case No. 25550.

        2.       The complaint names Acuity as a Defendant. Additionally, Plaintiffs named

Mr. Firriolo as a Defendant.

        3.       Acuity was served through the Commissioner of Insurance on February 24,

2023. This Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b), in that this Notice

of Removal is being filed within 30 days after the first receipt by a Defendant, through




AU Anderson Not Removal (Fed) 230327
0010 22057
  Case 1:23-cv-01046-JDB-jay Document 1 Filed 03/27/23 Page 2 of 8                PageID 2




service, of the complaint. As stated above, Acuity was served on February 24, 2023. This

Notice is being filed on March 27, 2023. The 30 th day occurs on March 26, 2023, which

was a Sunday. By virtue of the final day falling on a Sunday, the deadline for filing this

Notice of Removal shifts to March 27, 2023. See Fed. R. Civ. P. 6(a)(1)(C) (“[I]nclude the

last day of the period, but if the last day is a Saturday, Sunday, or legal holiday, the period

continues to run until the end of the next day that is not a Saturday, Sunday, or legal

holiday.”). To Acuity’s knowledge, Mr. Firriolo has not been served with process.

        4.       Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and

orders served upon the removing Defendant are attached as Exhibit 1.

                                       DIVERSITY JURISDICTION

        5.       This Court has jurisdiction over this matter under 28 U.S.C. § 1332(a)

because there is complete diversity of citizenship between all Plaintiffs and the real party

Defendant to this action.

        6.       The complaint alleges that the Plaintiffs are citizens and residents of

Weakley County, Tennessee.

        7.        For the purposes of diversity jurisdiction, Acuity is a citizen of Wisconsin

where it has its principal place of business.

        8.       The amount in controversy clearly exceeds $75,000, exclusive of costs and

interest, as the Plaintiffs seek $13 million according to their Complaint. See 28 U.S.C. §

1332(a). Thus, by the plain terms of the complaint, the jurisdictional threshold under 28

U.S.C. § 1332(a) is satisfied.

        9.       Although the Plaintiffs also name as a Defendant Mr. Firriolo, who the

Plaintiffs allege is a citizen and resident of Williamson County, Tennessee, his inclusion




AU Anderson Not Removal (Fed) 230327             2
0105 22057
  Case 1:23-cv-01046-JDB-jay Document 1 Filed 03/27/23 Page 3 of 8                     PageID 3




does not defeat diversity jurisdiction because Mr. Firriolo has been fraudulently jointed by

the Plaintiffs in an attempt to defeat diversity jurisdiction of this Court.

        10.      It is well-established that removal cannot be defeated by a plaintiff’s improper

or fraudulent joinder of a party. See Wilson v. Republic Iron & Steel Co., 257 U.S. 92, 97

(1921); Sell v. Volkswagen of Am., Inc., 505 F.2d 953, 955 (6th Cir. 1974) (affirming trial

court’s denial of motion to remand and upholding diversity jurisdiction where a named

defendant was joined “as a procedural tactic to destroy diversity of citizenship”); Coyne ex

rel. Ohio v. Am. Tobacco Co., 183 F.3d 488 (6th Cir. 1999) (finding sufficient evidence for the

district court to conclude that plaintiffs could not have established a cause of action against

the non-diverse defendants under state law, thereby permitting removal).

        11.      To establish fraudulent joinder, Acuity must demonstrate that “a plaintiff could

not have established a cause of action against [the] non-diverse defendant[]”—in this case,

Mr. Firriolo. Evans v. Arise Inc., No. 08-CV-1177, 2008 WL 5429835, at *3 (W.D. Tenn. Dec.

30, 2008).

        12.      Mr. Firriolo is not an employee of Acuity; rather, he is a professional engineer

who was hired on a contractual basis to assist Acuity in its handling of this claim.

        12.      All claims against Mr. Firriolo hinge on a single, core premise: alleged violations

of the Fraudulent Insurance Act, Tenn. Code Ann. § 56-53-103(a)(1) (“the act”). (See Compl.

at § 18.)

        13.      However, case law has shown that the act does not apply engineers such

as Mr. Firriolo. The act provides as follows:

        (a) Any person who commits, participates in, or aids, abets, or conspires to
        commit, or solicits another person to commit, or permits its employees or its
        agents to commit any of the following acts with an intent to induce reliance,
        has committed an unlawful insurance act:




AU Anderson Not Removal (Fed) 230327              3
0105 22057
  Case 1:23-cv-01046-JDB-jay Document 1 Filed 03/27/23 Page 4 of 8                   PageID 4




                 (1) Presents, causes to be presented, or prepares with knowledge or
                 belief that it will be presented, by or on behalf of an insured, claimant
                 or applicant to an insurer, insurance professional or a premium
                 finance company in connection with an insurance transaction or
                 premium finance transaction, any information that the person knows
                 to contain false representations, or representations the falsity of
                 which the person has recklessly disregarded, as to any material fact,
                 or that withholds or conceals a material fact, concerning any of the
                 following:

                          (A) The application for, rating of, or renewal of, any insurance
                          policy;
                          (B) A claim for payment or benefit pursuant to any insurance
                          policy;
                          (C) Payments made in accordance with the terms of any
                          insurance policy; or
                          (D) The application for the financing of any insurance
                          premium;

                 (2) Presents, causes to be presented, or prepares with knowledge or
                 belief that it will be presented, to or by an insurer, insurance
                 professional or a premium finance company in connection with an
                 insurance transaction or premium finance transaction, any
                 information that the person knows to contain false representations,
                 or representations the falsity of which the person has recklessly
                 disregarded, as to any material fact, or that withholds or conceals a
                 material fact, concerning any of the following:

                          (A) The solicitation for sale of any insurance policy or
                          purported insurance policy;
                          (B) An application for certificate of authority;
                          (C) The financial condition of any insurer; or
                          (D) The acquisition, formation, merger, affiliation or
                          dissolution of any insurer; or

                 (3) Solicits or accepts new or renewal insurance risks by or for an
                 insurer that the person knows was insolvent or the insolvency of
                 which the person recklessly disregards.

The act does not apply to engineers hired by insurance companies; it applies to insureds

themselves, which Mr. Firriolo is not, and nor are there any allegations that Mr. Firriolo is

an insured of Acuity or a representative of any insured. The act applies to insureds

knowingly making false representations to insurers, which has not been alleged here. See



AU Anderson Not Removal (Fed) 230327              4
0105 22057
  Case 1:23-cv-01046-JDB-jay Document 1 Filed 03/27/23 Page 5 of 8                PageID 5




Cantrell v. Yates Servs., LLC, 205 F. Supp. 3d 928, 933 (M.D. Tenn. 2016) (“Tenn. Code

Ann. § 56-53-103(a)[] … makes it unlawful for an insured person to ‘present[]. . . to an

insurer . . . any information that the person knows to contain false representations, or

representations the falsity of which the person has recklessly disregarded, as to any

material fact, or that withholds or conceals a material fact, concerning . . . [a] claim for

payment or benefit pursuant to any insurance policy.’”). (Emphasis added.) See also,

Allstate Life Ins. Co. v. Tyler-Howard, No. 3:19-cv-00276, 2019 U.S. Dist. LEXIS 174591,

at *7 (M.D. Tenn. Oct. 8, 2019); Craighead v. Bluecross Blueshield of Tenn., Inc., No.

M2007-01697-COA-R10-CV, 2008 Tenn. App. LEXIS 454, at *11 (Ct. App. July 31, 2008)

(“Any insurer or insurance professional who has reasonable belief that an act violating §

56-53-102 or §56-53-103 will be, is being, or has been committed shall furnish and

disclose any information in such insurance professional's possession concerning such

act to the appropriate law enforcement official or authority, insurance department, state

division of insurance fraud, or state or federal regulatory or licensing authority ….”)

(emphasis added); Monumental Life Ins. Co. v. Puckett, No. W2005-00083-COA-R3-CV,

2006 Tenn. App. LEXIS 12, at *12 (Ct. App. Jan. 9, 2006); Hanover Am. Ins. Co. v.

Tattooed Millionaire Entm't, LLC, Civil Action No. 2:16-cv-2817, 2021 U.S. Dist. LEXIS

258210, at *12 (W.D. Tenn. Sep. 21, 2021).

        14.      Because the alleged cause of action against Mr. Firriolo is regarding an

inapplicable statute, the Plaintiffs complaint against Mr. Firriolo must fail in its entirety.

See Fed. R. Civ. P. 12(b)(6). Essentially, the Plaintiffs’ complaint could not survive a Rule

12 motion to dismiss for failure to state a claim filed and argued by Mr. Firriolo. Without




AU Anderson Not Removal (Fed) 230327          5
0105 22057
  Case 1:23-cv-01046-JDB-jay Document 1 Filed 03/27/23 Page 6 of 8                     PageID 6




this allegation filed by the Plaintiffs against Mr. Firriolo, complete diversity would exist. It

is clear that Plaintiffs named Mr. Firriolo solely to defeat diversity jurisdiction.

        15.      As Mr. Firriolo has been fraudulently joined, diversity jurisdiction obtains.

See, e.g., Coyne, 183 F.3d at 493 (concluding that Plaintiff’s failure to “plead viable state

law causes of action against the local defendants” supported district court’s denial of

Plaintiff’s motion to remand on the basis of fraudulent joinder); Garner v. SDH Servs. E.,

LLC, 55 F.Supp.3d 1016, 1027 (M.D. Tenn. 2014) (finding removing Defendants properly

removed case, notwithstanding lack of complete diversity at the time of removal, due to

Plaintiff’s fraudulent joinder of another Defendant); Davis v. Franklin Am. Mortg. Co., No.

3:16-cv-02819, 2017 WL 3172743 at *5 (M.D. Tenn. July 26, 2017) (“The remedy for

fraudulent joinder is dismissal of the claims against the non-diverse defendant.”); Hagen

v. U-Haul Co. of Tenn., 613 F.Supp.2d 986, 994 (W.D. Tenn. 2009) (because Plaintiffs

do not allege facts that would either directly or inferentially establish the material element

of duty, they have not presented a claim for negligence against Defendants and cannot

prove a cause of action against non-diverse defendants under Tennessee law).

        16.      Consent to removal by Mr. Firriolo is not required as consent is not required

from an improperly joined Defendant. See Chamber v. HSBC Bank USA, N.A., 796 F.3d

560, 564 (6th Cir. 2015) (“By its terms, however, § 1446(b)(2) only requires the consent

of properly joined defendants; the consent of a defendant that has been fraudulently

joined is not necessary.”) (emphasis in original; internal citations omitted). Additionally,

Mr. Firriolo has not been served with the complaint. See 28 U.S.C. § 1446(b)(2)(A)

(“When a civil action is removed solely under section 1441(a), all defendants who have




AU Anderson Not Removal (Fed) 230327           6
0105 22057
  Case 1:23-cv-01046-JDB-jay Document 1 Filed 03/27/23 Page 7 of 8                    PageID 7




been properly joined and served must join in or consent to the removal of the action.”).

(Emphasis added.)

        17.      Therefore, this Court has diversity jurisdiction over this action.

        WHEREFORE, Acuity respectfully removes this action from the Chancery Court

of Weakley County, Tennessee to this Court for all further proceedings.

        Dated: March 27, 2023.




                                       Respectfully submitted,


                                       s/ Cory R. Miller___________________________
                                       PARKS T. CHASTAIN
                                       Registration No. 13744
                                       DIRECT: (615) 630-7717
                                       (615) 256-8787, Ext. 114
                                       pchastain@bkblaw.com
                                       CORY R. MILLER
                                       Registration No. 34770
                                       DIRECT: (615) 630-7745
                                       (615) 256-8787, Ext. 145
                                       cmiller@bkblaw.com
                                       Attorneys for Defendant, Acuity, A Mutual Insurance
                                       Company

                                       BREWER KRAUSE BROOKS & CHASTAIN, PLLC
                                       545 Mainstream Drive, Suite 101
                                       Nashville, TN 37228-1209




AU Anderson Not Removal (Fed) 230327            7
0105 22057
  Case 1:23-cv-01046-JDB-jay Document 1 Filed 03/27/23 Page 8 of 8              PageID 8




                                       CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of March, 2023, a true and correct copy of the
foregoing has been sent, via first-class mail, postage prepaid to:

Drayton Berkley, Esquire
The Berkley Law Firm, PLLC
1255 Lynnfield Road, Suite 226
Memphis, TN 38119

Anthony Firriolo, P.E.
EFI Global, Inc.
4922 Port Royal Road, Unit B-3
Spring Hill, TN 37174

                                          s/ Cory R. Miller___________________________
                                          CORY R. MILLER




AU Anderson Not Removal (Fed) 230327              8
0105 22057
